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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:06cr3062-002

                                                        USM Number 20766-047

ROBERT BERLIE
                       Defendant
                                                        JOHN C. VANDERSLICE
                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Standard Condition #7 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                Date Violation
        Violation Number                  Nature of Violation                    Concluded

 1. (Standard Condition #7)        The defendant shall refrain from             June 15, 2009
                                   excessive use of alcohol and
                                   shall not purchase, possess,
                                   use, distribute, or administer any
                                   controlled substance or any
                                   paraphernalia related to any
                                   controlled substances, except
                                   as prescribed by a physician.
Original offense: Conspiracy to defraud the United States in violation of 18 U.S.C. § 371 and
criminal forfeiture in violation of 49 U.S.C. § 80302 and 80303 and 28 U.S.C. § 2461(c).

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                        Date of Imposition of Sentence:
                                                                                           July 1, 2009

                                                                           s/ Richard G. Kopf
                                                                           United States District Judge

                                                                                    July 6,2009
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of ten (10) months with no supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated at a federal facility in Yankton, South Dakota.

The defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution
          $100.00 (paid)




                                                    FINE

        No fine imposed.

                                              RESTITUTION

        No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
